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                      IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF OKLAHOMA

In re:                                       )                                    Filed/Docketed
                                             )                                     May 31, 2024
JOSEPH DEWAYNE CUDE and                      )
SARAH ANN CUDE,                              )
                                             ) Case No. 23-10625-M
                Debtors.                     ) (Chapter 7)


JOSEPH DEWAYNE CUDE and                      )
SARAH ANN CUDE,                              )
                                             )
                Plaintiffs,                  )
                                             )
vs.                                          ) Adversary No. 23-01016-M
                                             )
HIGHER EDUCATION LOAN                        )
AUTHORITY OF THE STATE OF                    )
MISSOURI, a/k/a MOHELA, et al.,              )
                                             )
                Defendants,                  )
                                             )
and,                                         )
                                             )
EDUCATIONAL CREDIT                           )
MANAGEMENT CORPORATION,                      )
                                             )
                Intervenor.                  )

               AGREED ORDER AND JUDGMENT OF DISCHARGEABILITY

         This proceeding comes on for consideration of the stipulation of dischargeability of the

Intervenor, Educational Credit Management Corporation, a non-profit Minnesota corporation

(“ECMC”) (Docket Entry # 26, the “Stipulation”), who stipulated that requiring the Debtors and

Plaintiffs herein, Joseph Dewayne Cude and Sarah Ann Cude, to repay the outstanding education

loan claims held by ECMC (the “ECMC Student Loans”), as more particularly identified and

described in ECMC’s answer herein, would constitute an undue hardship as contemplated by 11

U.S.C.§523(a)(8), and ECMC therein consented to the entry of an Order finding the ECMC Student
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Loans, only, should be discharged as part of the general discharge in bankruptcy previously granted

to such Debtors and Plaintiffs pursuant to 11 U.S.C. §523(a)(8).

       As the Stipulation resolves all outstanding issues before the Court affecting ECMC, only,

and this order will be dispositive of same as to ECMC, only, accordingly, the only the ECMC

Student Loans identified herein and in ECMC’s answer filed in this proceeding should be and are

hereby discharged as part of the general discharge in bankruptcy previously granted to such Debtors

and Plaintiffs pursuant to 11 U.S.C. §523(a)(8).

       IT IS SO ORDERED, ADJUDGED AND DECREED.

       DATED: May 31, 2024

                                                   BY THE COURT:



                                                   TERRENCE L. MICHAEL, CHIEF JUDGE
                                                   UNITED STATES BANKRUPTCY COURT




s/     Mac D. Finlayson
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ATTORNEY    FOR  INTERVENOR,
EDUCATIONAL           CREDIT
MANAGEMENT CORPORATION

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